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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA                    :
                                            :
  vs.
Azikiwe AQUART, Azibo AQUART,
and Efrain JOHNSON
       Defendants.                           :      Case No. 3:06cr160(PCD)
                                             :


                         ORDER ON ORAL MOTION TO SEVER

       Oral Motion to sever the trial of Efrain Johnson from the trial of Azikiwe Aquart and

Azibo Aquart is hereby granted.




                                          Dated at New Haven, Connecticut, February 17, 2009.

                                                                   /s/
                                                            Peter C. Dorsey, U.S. District Judge
                                                                     United States District Court
